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  Attorneys for Josias N. Dewey, Court-Appointed
  Temporary Receiver

                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION

   SECURITIES AND EXCHANGE
   COMMISSION,                                     DECLARATION OF BECKY MCGEE
          Plaintiff,
   v.
   DIGITAL LICENSING INC. (d/b/a                   Case No. 2:23-cv-00482-RJS
   “DEBT Box”), a Wyoming corporation;
   JASON R. ANDERSON, an individual;               Judge Robert J. Shelby
   JACOB S. ANDERSON, an individual;               Magistrate Judge Dustin B. Pead
   SCHAD E. BRANNON, an individual;
   ROYDON B. NELSON, an individual;
   JAMES E. FRANKLIN, an individual;
   WESTERN OIL EXPLORATION
   COMPANY, INC., a Nevada corporation;
   RYAN BOWEN, an individual; IX
   GLOBAL, LLC, a Utah limited liability
   company; JOSEPH A. MARTINEZ, an
   individual; BENJAMIN F. DANIELS, an
   individual; MARK W. SCHULER, an
   individual; B & B INVESTMENT
   GROUP, LLC (d/b/a “CORE 1
   CRYPTO”), a Utah limited liability
   company; TRAVIS A. FLAHERTY, an
   individual; ALTON O. PARKER, an
   individual; BW HOLDINGS, LLC (d/b/a
   the “FAIR PROJECT”), a Utah limited
   liability company; BRENDAN J.
   STANGIS, an individual; and MATTHEW
   D. FRITZSCHE, an individual,


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             Defendants,

   ARCHER DRILLING, LLC, a Wyoming
   limited liability company; BUSINESS
   FUNDING SOLUTIONS, LLC, a Utah
   limited liability company; BLOX LENDING,
   LLC, a Utah limited liability company;
   CALMFRITZ HOLDINGS, LLC, a Utah
   limited liability company; CALMES & CO,
   INC., a Utah corporation; FLAHERTY
   ENTERPRISES, LLC, an Arizona limited
   liability company; IX VENTURES FZCO, a
   United Arab Emirates company; PURDY
   OIL, LLC, a Nebraska limited liability
   company; THE GOLD COLLECTIVE LLC,
   a Utah limited liability company; and UIU
   HOLDINGS, LLC, a Delaware limited
   liability company,

             Relief Defendants.

                     DECLARATION OF BECKY MCGEE IN SUPPORT OF
                     RECEIVER’S FIRST AND FINAL FEE APPLICATION

            I, Becky McGee, declare and state as follows:

            1.     I am over the age of majority and have personal knowledge of the matters set forth

  herein. I am competent in all respects to make the statements set forth in this declaration.

            2.     I was engaged by Holland & Knight LLP (“H&K”) to serve as a consultant to the

  Court-appointed temporary receiver, Josias N. Dewey (“Receiver”), in the above captioned matter

  and submit this declaration in support of the Receiver’s First and Final Fee Application

  (“Application”).

            3.     My role as consultant in this matter was focused on work relating to oil and gas

  assets.

            4.     I have served as a court-appointed receiver and as a consultant to a receiver in other

  federal securities fraud cases involving oil and gas assets and related matters. Prior to my roles in



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  the receivership context, I was Vice President and General Counsel of Hunt Petroleum Corporation

  and prior to joining Hunt Petroleum, I served in management and legal positions for Oryx Energy

  Company and Sun Exploration and Production Company. I am an attorney licensed to practice in

  Texas and I have been Board Certified in Oil, Gas and Mineral Law by the Texas Board of Legal

  Specialization since 1989. My legal and management experience in the oil and gas area that is

  relevant to my role in this matter includes a broad range of transactions involving a variety of oil

  and gas operations and assets located throughout the United States, federal regulatory compliance

  matters and assessment and preservation of oil and gas assets in a receivership.

         5.       My current standard hourly rate for work similar to the work I performed in this

  matter is $395. However, it has been my practice to charge a discounted hourly rate for work on

  receivership matters involving SEC securities fraud cases and, in this matter, the discounted hourly

  rate is $320.

         6.       Based on my experience retaining, attempting to retain and working with attorneys

  in connection with receivership matters and oil and gas matters, I am familiar with hourly billing

  rates. My discounted hourly rate in this matter is at the low end of the range of competitive market

  rates for work similar to the work I performed in this matter and, therefore, is a reasonable rate.

  Certification of Compliance with SEC Billing Instructions

         7.       To the best of my knowledge, information and belief formed after reasonable

  inquiry, all my fees in this matter are true and accurate and comply with the Billing Instructions

  for Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission.

         8.       The fees in my invoice (attached to the Application as Exhibit F-4) are based on

  the hourly rate listed therein and such fees are reasonable, necessary and commensurate with the

  skill and experience required for the activity performed.



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         9.     No requests for reimbursement are included in my invoice.



         I declare under criminal penalty of law of Utah that the foregoing is true and correct.



  DATED this 17th day of April, 2024.


                                               /s/ Becky McGee
                                               Becky McGee




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